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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA APR 2 8 2010
SOUTHERN DIVISION CRN
CLERK

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UNITED STATES OF AMERICA, * CR 10-40003
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Plaintiff, *
*

VS. * ORDER

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RYAN PATRICK SAILORS, *
*
Defendant. *

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Pending before the Court is the Defendant's Petition to Plead Guilty and Statement of Factual!
Basis. A hearing to take the plea was held before the Magistrate Judge on April 9, 2010, and Judge
Simko issued a Report and Recommendation accepting the plea, and recommending to this Court
that the Defendant be adjudged guilty as charged in the Superseding Indictment with Failure to
Register as Sex Offender in violation of 18 U.S.C. § 2250(a). After a careful review of the file, and
the time for objections having expired,

IT IS ORDERED:

1, That the Magistrate Judge’s Report and Recommendation is ADOPTED by
the Court, and the Defendant Ryan Patrick Sailors is adjudged guilty.

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Dated this LO aay of April, 2010.

BY THE COURT:

ATTEST: nited States District Judge
JOSEPH HAAS, CLERK

BY:
DEPUTY
